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   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                               Office of the Clerk
        United States Courthouse
                                                                              Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                     ORDER
November 8, 2023

By the Court:
                                     PAULA WALLRICH, et al.,
                                             Plaintiffs - Appellees

                                     v.
No. 23-2842

                                     SAMSUNG ELECTRONICS AMERICA, INCORPORATED and
                                     SAMSUNG ELECTRONICS COMPANY, LIMITED,
                                            Defendants - Appellants
Originating Case Information:
District Court No: 1:22-cv-05506
Northern District of Illinois, Eastern Division
District Judge Harry D. Leinenweber


The following are before the court:

1. MOTION TO STAY THE DISTRICT COURT'S ORDER; REQUEST FOR
ADMINISTRATIVE STAY UNTIL THE COURT RULES; AND MOTION TO
EXPEDITE THE APPEAL, filed on October 25, 2023, by counsel for the appellants.

2. APPELLEE'S OPPOSITION TO APPELLANTS' MOTION TO STAY THE
DISTRICT COURT'S SEPTEMBER 12, 2023 ORDER, filed on November 2, 2023, by
counsel for the appellees.

3. REPLY IN SUPPORT OF THE MOTION TO STAY THE DISTRICT COURT'S
ORDER AND MOTION TO EXPEDITE THE APPEAL, filed on November 6, 2023, by
counsel for the appellants.

The motion for a stay pending appeal is GRANTED. The district court's order dated
September 12, 2023, is STAYED pending the resolution of this appeal and the issuance
of this court's mandate.
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The motion to expedite also is GRANTED. Briefing in this appeal will proceed as
follows:

1. The brief and required short appendix of the appellants is due by November 14, 2023.

2. The brief of the appellees is due by December 12, 2023.

3. The reply brief of the appellants, if any, is due by December 22, 2023.

Oral argument will be set by a separate order.

The parties' briefs must discuss in detail both this court's appellate jurisdiction
(including the effect of Green Tree Financial Corp. v. Randolph, 531 U.S. 79 (2000)) and
the district court's subject-matter jurisdiction (including the effect of Vaden v. Discover
Bank, 556 U.S. 49 (2009), and 9 U.S.C. § 203).




Important Scheduling Notice!

Hearing notices are mailed shortly before the date of oral argument. Please note that counsel’s unavailability for oral
argument must be submitted by letter, filed electronically with the Clerk’s Office, no later than the filing of the
appellant’s brief in a criminal case and the filing of an appellee’s brief in a civil case. See Cir. R. 34(b)(3). The court’s
calendar is located at http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once scheduled, oral argument is
rescheduled only in extraordinary circumstances. See Cir. R. 34(b)(4), (e).



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